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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  CYWEE GROUP LTD.,                          )
       Plaintiff,                            )

       v.                                    )

                                             )
                                                     CIV. NO. 2:17-CV-00495-RWS-RSP
                                             )
 . HUAWEI DEVICE CO. LTD.,
   HUAWEI DEVICE (DONGGUAN)                             JURY TRIAL DEMANDED
   CO. LTD., AND HUAWEI DEVICE               )
   USA, INC.,
                                             )
        Defendants.
                                             )


         ORDER GRANTING AGREED MOTION FOR FURTHER EXTENSION
             OF TIMETO SUBMIT PROPOSED PROTECTIVE ORDER

       The Court, after considering the agreed motion for an additional extension of time to

 submit the parties’ proposed protective order, from Monday, February 26, 2018, to Tuesday,

 February 27, 2018, GRANTS the motion.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 27th day of February, 2018.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
